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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND



  STATE OF COLORADO, et al.,

              Plaintiffs,

        v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,

              Defendants.




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                      DECLARATION OF KIMBERLY SARUWATARI
                I, Kimberly Saruwatari, declare as follows:

        1.      I am a resident of the State of California. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the County of Riverside, a political subdivision of the

 state of California, as the Director of the Department of Public Health.

        3.      As Director of Public Health, I am responsible for leading the total Public Health

 operation through administrative and medical staff, division managers, and supervisory

 positions. In collaboration with the Public Health Officer, I am primarily responsible for

 developing, recommending, interpreting, and administering Public Health policies. I oversee the

 County’s disease prevention, health promotion, and public health emergency response, ensuring

 compliance with local, state, and federal regulations. I coordinate public health efforts with other

 community-based organizations, institutions and governmental agencies. Additionally, my

 responsibilities include managing the Department’s budget and securing funding.

        4.      Our agency is aware of 3 award terminations already received and or forthcoming

 from the U.S. Department of Health and Human Services, Centers for Disease Control and

 Prevention. The total value of the terminated awards was $144,957,022. All terminations were

 “for cause” based on the end of the COVID pandemic, rather than failure of the County of

 Riverside Department of Public Health to follow the terms or conditions of the grants.

 Descriptions of each award and the effects of these terminations follow.

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 RIVERSIDE COUNTY INITIATIVE TO ADDRESS COVID-19 HEALTH DISPARITIES

         5.      In 2021, the Department of Health and Human Services, Centers for Disease

 Control and Prevention (CDC) invited applications for the Notice of Funding Opportunity titled

 National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk

 and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities

 (Health Disparities Grant).

         6.      The Health Disparities Grant provides funding to address COVID-19 and advance

 health equity (e.g., through strategies, interventions, and services that consider systemic barriers

 and potentially discriminatory practices that have put certain groups at higher risk for diseases

 like COVID-19) in racial and ethnic minority groups and rural populations within state, local, US

 territorial, and freely associated state health jurisdictions.

         7.      Effective June 1, 2021, the CDC produced a Notice of Award setting forth the

 terms and conditions of the grant award. A true and correct copy of the corresponding Notice of

 Award and its attachments, dated May 27, 2021, is attached as Exhibit A. As set forth therein,

 termination of the grant by CDC is permitted only if a recipient or subrecipient fails to comply

 with the terms and conditions of the award, for cause, or with consent of the non-Federal entity.

         8.      The Health Disparities Grant period was from June 1, 2021, through May 31,

 2026 for a total grant amount of $23,420,926.00.

         9.      As set out in its grant proposal, the Riverside County Department of Public Health

 (Department) intended to use the Riverside County Initiative to Address COVID-19 Health

 Disparities to improve access to services; enhance communication modalities to hard-to-reach

 populations; improve public health infrastructure to enhance service delivery to communities

 with the largest disparities in health outcomes; increase community-based testing; and improve



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 RUHS-PH capacity to prevent and control COVID-19 infection and/or transmission among the

 identified high-risk populations, while also supporting community and or faith-based

 organizations similar efforts.

        10.     Since June of 2021, the Department has used the Health Disparities Grant funds in

 a manner fully consistent with CDC’s statements regarding the nature of the grant and

 Department’s grant application.

        11.     The Health Equity efforts supported by this funding are an indispensable force in

 driving change and progress within Riverside County. With its far-reaching impact, the Health

 Equity program strengthens the Department’s infrastructure, enhances community partnerships,

 and offers invaluable insights into the systemic factors that shape health outcomes across diverse

 populations.

        12.     In Riverside County, the Healthy Places Index score reveals significant disparities

 in community health conditions. Riverside County currently ranks in the 39.3 percentile

 statewide, indicating that community conditions are less healthy than those in 59.7% of other

 California counties. Out of the eligible 2.4 million population, 871,000 residents are in Quartile

 1, representing areas with the highest need.

        13.     In 2021 and 2022 Covid-19 was the leading cause of death with significant racial

 disparities in Riverside County. Disproportionate disparities have long impacted the health and

 well-being of marginalized communities. The COVID-19 pandemic intensified these disparities,

 disproportionately impacting Latinx, Black, and Indigenous communities, as they experienced

 higher infection rates, limited access to vaccines, and greater economic hardship.

        14.     These persistent inequities, exacerbated by the pandemic, have perpetuated cycles

 of poverty and poor health, making it challenging for many to achieve optimal well-being.



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 Addressing these disparities is essential for improving public health and ensuring equitable

 outcomes for all residents.

        15.     Loss of funding for critical infrastructure initiatives like the Health Equity &

 Justice Committee (HEJC), the Health Equity Strategic Plan (HESP), and other health disparity

 related efforts would significantly hinder Riverside County’s ability to address health disparities

 and strengthen public health systems, including equitable emergency response planning, the

 Community COVID-19 Impact Hub, and the Equity and Justice Initiative. These activities are

 essential for advancing health equity, policy reform, and systemic change.

        16.     Loss of funding will cause inability to participate in statewide health equity

 efforts like the State Health Equity Plan (SHEP) and the Public Health Accreditation Board

 (PHAB) process, weakening the role of equity in public health initiatives.

        17.     Loss of funding will cause inability to guide and shape critical action groups as

 part of the Community Health Improvement Plan development and implementation. These

 groups would include topics such as mental health, access to care, and housing and without them

 the ability to implement vital strategies for long-term health improvement would be lost.

        18.     Loss of funding would halt efforts to reduce disparities, improve health

 infrastructure, and ensure equitable access to care, undermining the County's capacity to protect

 and improve the well-being of all its residents. Continued funding is vital for maintaining

 progress and achieving long-term health equity.

        19.     Losing funding for community partnerships like the Riverside County Health

 Coalition, the Regional Health Equity Workgroup, and the Vaccine Equity and Equity & Justice

 Taskforces would significantly hinder public health efforts and exacerbate health disparities.

 These initiatives have been essential in addressing equity-related issues, providing accessibility,



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 and fostering collaboration across various sectors. For example, the Vaccine Equity Task Force

 provided critical input to the distribution of COVID-19, MPX and Flu vaccine so that under-

 resourced and hard-to-reach communities have access to life-saving vaccines.

         20.    The Riverside County Health Coalition has been instrumental in uniting partners

 to address critical issues such as housing, mental health, and access to vaccinations. Without

 funding, essential services like Spanish translation, American Sign Language interpretation, and

 hybrid meetings would be lost, leaving vulnerable communities underserved.

         21.    Inability to participate in the Regional Health Equity Workgroup, which ensure

 Riverside County remains engaged in statewide efforts to address health disparities. Without this

 participation, the County would be disconnected from important regional decisions and

 strategies.

         22.    Loss of funding would undermine future public health responses, weakening the

 collaborative infrastructure needed to address health crises effectively.

         23.    Loss of funding for these community partnerships would disrupt vital health

 services, reverse progress on health equity, and further marginalize vulnerable populations.

         24.    Loss of funding for initiatives like the EquiTEA Podcast, Health Equity Social

 Media Accounts, and the Health Equity Newsletter would severely impact our ability to connect

 Riverside County residents with critical health information and resources.

         25.    Inability to share culturally relevant public health information with underserved

 communities. These platforms raise awareness of social and racial injustices, advocate for

 marginalized groups, and mobilize the community to achieve health equity. Without the

 necessary staff to manage and produce content, both the podcast and social media presence

 would end, cutting off an essential channel for community engagement and education.



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        26.     Limited ability to connect residents with local and governmental resources,

 promoting disease prevention, and addressing health disparities. By providing timely updates on

 medical care, public health initiatives, and support services, the newsletter/communication

 ensures the community has access to vital information. Without funding, this publication would

 cease, leaving residents without crucial resources and information.

        27.     Loss of funding for these programs would severely limit the County’s ability to

 inform, engage, and support the community, reducing access to vital health information and

 services.

        28.     The Department has had to notify its subcontractor of the immediate stop work

 and return of funds, which will be required to be communicated to the subrecipients. There are

 fifteen subrecipients impacted with an aggregate total contract award of $10,718,168.14.

        29.     The Department timely submitted all invoices, quarterly reports, and expenditure

 reports with respect to the Health Disparities Grant, which have all received positive feedback by

 the CDC.

        30.     Prior to the grant termination on March 24, 2025, CDC had never provided the

 Department with notice, written or otherwise, that the grant administered by the Department was

 in any way unsatisfactory.

        31.     On March 25, 2025, without any prior notice or indication from the CDC, the

 Department received its termination notification via its GrantSolutions portal at 4:14 AM PST

 stating termination effective as of March 24, 2025. The Department received its official

 termination and close final process email from the CDC at 6:24 AM PST on March 26, 2025. A

 true and correct copy of the notice is attached as Exhibit B.




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         32.     The purported basis for the termination is for cause, being the end of the

 pandemic. The termination notice did not include any information whatsoever with respect to

 appeal rights and process.

         33.     The Department relied and acted upon its expectation and understanding that

 CDC would fulfill its commitment to provide the Health Disparities Grant funding, by budgeting

 for the remaining current fiscal year and for its budget request for the next fiscal year 25/26.

         34.     The estimated number of full-time employees (FTEs) impacted by the Health

 Disparities Grant funding loss for the fiscal year 2024-25 is 10.75 FTEs and for the fiscal year

 2025-26 is 15.05 FTEs. The impacted remaining budget for fiscal year 2024-25 is $886,052 and

 the impacted budget request for fiscal year 2025-26 is $3,468,508.

         35.     Eliminating or reducing funding for the Health Equity program will jeopardize the

 Department’s ability to fulfill our commitment to fostering transformative, long-lasting change.

 Riverside County cannot afford to diminish the very resources that enable the Department to

 advance to a healthier, more just Riverside County. The well-being of every individual in the

 County depends on it. Without these funds, the already significant gaps in health outcomes in our

 most under-resourced and hard-to-reach populations will be exacerbated, ultimately resulting in

 increased years of potential life lost, increases in quality years of life lost, and disparities in

 longevity.

 EPIDEMIOLOGY AND LABORATORY CAPACITY (ELC) – ENHANCING

 DETECTION EXPANSION GRANT

         36.     In 2020, the Coronavirus Response and Relief Act, 2020, P.L. 116-260 was

 appropriated for the CDC to administer and provide critical resources to state, local, and

 territorial health departments in support of a broad range of COVID-19/SARS-CoV-2 testing and



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 epidemiologic surveillance and related activities. Whereas Congress appropriated additional

 funding to support the expansion through the Coronavirus Response and Relief Supplemental

 Appropriations Act of 2021, P.L. 116-260.

        37.     In 2021, the California Department of Public Health (CDPH) notified the

 Riverside County Public Health Department (the Department) of funding for the ELC Enhancing

 Detection Expansion through the Coronavirus Response and Relief Act, 2020 and Supplemental

 Appropriations Act of 2021 (hereinafter the ELC Grant/funding).

        38.     On March 2, 2021, CDPH produced a Letter of Award of Funding setting forth

 the terms and conditions of the funding award. A true and correct copy of the ELC Funding

 Letter of Award is attached as Exhibit C.

        39.     The ELC Grant expected performance period was from January 15, 2021, through

 July 31, 2026. The total grant amount is $101,417,767.

        40.     The ELC Grant supported community and public health laboratory testing; case

 investigation and contact tracing; outreach and education; data collection, analysis and display;

 surveillance containment; and mitigation.

        41.     As set out in its work plan, the Department intended to use the ELC funding to:

 enhance laboratory, surveillance, informatics and workforce capacity; strengthen laboratory

 testing; advance electronic data exchange at public health laboratories; improve surveillance and

 reporting of electronic health data; use laboratory data to enhance investigation, response, and

 prevention; and coordinate and engage with partners to provide culturally appropriate services

 and outreach to communities, reduce barriers to COVID-19 testing and vaccination, develop and

 sustain infection prevention staff.




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         42.      The objectives of the Department’s work plan are critical in supporting the

 Department’s ability to provide more informed public health responses by improving tracking

 and reporting of health trends and disease variants.

         43.      Since January 2021 the Department has used the ELC Grant funds in a manner

 fully consistent with CDC’s statements regarding the nature of the grant and the CDPH Letter of

 Award requirements.

         44.      ELC funding was used to support the implementation of EPIC, an electronic

 health record system, across the Department of Public Health. To date, the software system is

 approximately 20% implemented, and ceasing the project now will limit the Department’s ability

 to bill for services, conduct comprehensive data analyses, and efficiently make and receive

 referrals on behalf of our clients. The one module of EPIC that has been fully implemented

 requires securing a 3-year maintenance agreement for the module. Without this agreement, the

 Department will not have the support to ensure timely and accurate specimen submittal, tracking

 and reporting.

         45.      The loss of the EPIC implementation will also directly affect the ability of

 hospitals, clinics and other entities to bi-directionally refer their clients for Public Health

 services. An electronic health record system such as EPIC will also allow the Department to

 seamlessly and bi-directionally transfer data on the local, regional, state and national level to

 support interoperability, timely reporting of disease and outbreaks, and lower overall costs for

 health and healthcare.

         46.      The implementation of EPIC is required to modernize technology within Public

 Health to allow for more real-time population health surveillance, rapid response and allow for




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 increased opportunities for billing to maximize and diversify revenue. Thus, compounding the

 financial loss of ELC Funding.

        47.     Without ELC funding, the Department will be unable to purchase a Qualtrics

 survey tool, intended to support Public Health’s ability to collect crucial Health Insurance

 Portability and Accountability Act (HIPAA) compliant data from the community. The survey

 tool is information technology approved/authorized for collecting Personal Health Information

 (PHI). Qualtrics allows staff to comply with legal requirements for collecting and storing

 important community health assessment data. Without this tool, the process for surveying the

 community and collecting and analyzing data would be significantly longer and more

 cumbersome, straining the reduced workforce due to the ELC funding loss.

        48.     The loss of ELC funding eliminates the Department’s ability to conduct a media

 campaign to raise awareness and educate the community about the importance of COVID-19 and

 other vaccinations. Without an effective media campaign, key information about vaccine

 availability, benefits, and safety may not reach the target populations, leading to confusion or

 hesitation. This lack of outreach results in missed opportunities for increasing community access

 to vaccines, potentially negatively affecting vaccine uptake and the occurrence of vaccine

 preventable diseases.

        49.     The loss of this funding creates a significant setback to services by impacting the

 County’s Public Health-led Integrated Services Delivery outreach work in providing coordinated

 and comprehensive services to community members. ELC funding supports Public Health staff

 that participate in this collaborative, allowing outreach to Riverside County’s most vulnerable

 populations.




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        50.     The Department has used the ELC Funding to add epidemiologists and research

 specialists to the staff. These staff have created multiple public facing dashboards, including on

 COVID-19, flu, RSV and other respiratory illnesses, which has been highlighted as best practice

 with CDPH and other local health jurisdictions. They have also tripled the number of data briefs

 and full reports published per year from 4 to 12 and have tackled such topics as life expectancy,

 years of potential life lost, morbidity and mortality and other critical analyses . These funded

 staff have also created a new monthly publication titled “Data Digests” which is a snapshot of 6

 different data sets (these rotate monthly) to highlight the breadth and depth of data available to

 the community and our partners. Because of this enhanced data capacity, the Department can

 quickly and more efficiently detect outbreaks and trends in our data and provide more timely

 information to the public. With the loss of ELC funding, the addition of data dashboards, timely

 analysis and enhanced detection capabilities are all reduced. The specialized epidemiologists

 and data staff that will be lost, will likely lead to higher morbidity and mortality in the

 community as the Department will not have the capacity to quickly detect disease and prevent

 spread. Additional non-data surveillance team members will be eliminated, which further

 impacts disease investigation and mitigation capabilities. This team serves as a liaison between

 Public Health and all hospitals, skilled nursing facilities, schools, and county workplaces for

 Riverside County, collaborating to share critical updates on disease trends and infection control.

 Staff monitor cases and outbreaks, offer guidance, and update public guidelines based on

 recommendations from state and federal health agencies.

        51.     With the loss of ELC funding, the Department is unable to implement and

 conduct wastewater surveillance. This type of surveillance is an early indicator of the presence

 of disease in the community and has been used by cities in the county for detection of COVID,



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 MPOX and other communicable diseases. The Department was in the process of implementing

 wastewater surveillance for COVID-19, influenza and other respiratory diseases. Without this

 capacity, the Department must rely on syndromic surveillance or actual disease reports to detect

 clusters and outbreaks of disease – which is days later than what is possible through wastewater

 detection.

            52.   Loss of ELC funding means the Department cannot purchase the GeneXpert

 Xpress, which is equipment to conduct rapid COVID-19 testing in the field. The equipment was

 to be placed on the HIV/STD mobile unit as that unit sees populations that are at high risk for

 disease.

            53.   ELC funding was to be used to purchase $3 million of COVID over-the-counter

 test kits. These kits were to be shared with community partners for distribution to hard-to-reach

 communities and for outbreak response. They were also for County Departments for staff

 testing.

            54.   ELC funding was supporting the expansion of temperature-controlled warehouse

 storage space. Architectural renderings have been developed but the project will now not

 continue. This storage is critical due to Riverside County’s climate for seven months of the year,

 where the temperature in the warehouse exceeds the recommended temperature for storing

 testing supplies. Without a temperature-controlled space, the Department will not have the

 necessary supplies to offer employees, as required by California Occupational Safety and Health

 Administration regulations. This will further limit abilities to assist with outbreak testing or to

 provide tests to community groups. Furthermore, this can also increase the risk of outbreaks and

 clusters of cases.




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        55.     Without ELC funding, the Department is unable to fund community-based

 organizations focused on COVID outreach and education, which would leave vulnerable

 populations more exposed to the virus and facing worsened health outcomes and economic

 hardships. The healthcare system would be further strained as reduced outreach services may

 lead to higher infection rates and greater demand on healthcare resources. This loss of support

 could widen existing health disparities.

        56.     ELC funding losses will cut staff in our Public Health Laboratory, impacting our

 ability to quickly test for and track disease variants. Laboratory staff is highly trained in

 microbiology, molecular diagnostics, and data analysis, which is vital to maintaining expertise

 and technical proficiency; losing this staff will result in the loss of invaluable knowledge.

        57.     ELC funding was used to purchase much of the specialized equipment for the

 Public Health Laboratory, a significant capital investment. This equipment requires ongoing

 service and maintenance agreements, and without funding the Department is unable to finance

 those agreements. Not maintaining this critical laboratory equipment undermines core functions

 like disease surveillance and outbreak investigations. The cancellation of ELC grant funding

 poses a serious threat to the Public Health Laboratory’s operational capacity, compromising

 public health and jeopardizing essential resources that are far more cost-effective to maintain

 than to remove or rebuild. Cancelation of these funds also impact hospital and community based

 labs as they will no longer be able to receive the same level of testing support from the Public

 Health Laboratory.

        58.     The loss of ELC funding results in Public Health being unable to purchase

 vending machines that offer COVID supplies to the community through a quick and easy

 process. The vending machines are placed in areas that lack easy access to healthcare, to help



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 address health disparities among high-risk and underserved populations. This is especially

 significant in Riverside’s rural communities.

        59.     The Public Health Department contracted with Lodestar, an organization that

 specializes in trauma-informed resilience training for public health practitioners who were part of

 the COVID-19 response. To date, the Department has held multiple trainings and staff have

 developed new or enhanced skills for dealing with difficult situations, which are commonplace in

 matters of Public Health. The Lodestar contract is an investment in organizational resiliency, and

 terminating this contract now will result in approximately half of the identified staff not

 receiving this important training for their mental health and well-being.

        60.     The staffing cuts that the Department will be forced to face will reduce the

 Department’s ability to process high-dollar, complex, and or sensitive/political procurement

 requests, that will ultimately affect the timely delivery of services to Riverside residents.

        61.     The Department has timely submitted all invoices, quarterly reports, and

 expenditure reports with respect to the ELC Letter of Award which have all been approved by

 CDPH. The ELC funding had two no-cost extensions, once in 2023 and again in 2024,

 extending the funding through July 31, 2026. True and correct copies of the notice of funding

 extensions are attached collectively as Exhibit D.

        62.     On March 25, 2025, without any prior notice or indication, the CDC, through its

 fiscal intermediary, Heluna Health, informed the CDPH that effective March 24, 2025 its ELC

 funding was being terminated. Due to the logistical challenges of informing a large number of

 ELC funding recipients of this time-sensitive information, the CDPH informally notified the

 Department on March 26, 2025 and stated formal notice is forthcoming.




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         63.    On March 28, 2025, as of 11:54 AM, the Department received the official notice

 letter from CDPH informing the Department of the CDC funding terminations. A true and

 correct copy of the letter is attached as Exhibit E.

         64.    The purported basis for the termination is for cause, being the end of the

 pandemic.

         65.    The remaining budget impacted for fiscal year 2024-25 is $9,847,489; and the

 impacted budget for fiscal year 2025-26 is $32,262,117.

         66.    The estimated number of full-time employees (FTEs) impacted by the ELC

 funding loss for the fiscal year 2024-25 is 15.35 FTEs and for the fiscal year 2025-26 is 15.6

 FTEs.

         67.    Prior to the grant termination on March 24, 2025, CDPH had never provided the

 Department with notice, written or otherwise, that the grant administered by the Department was

 in any way unsatisfactory.

 IMMUNIZATION COOPERATIVE AGREEMENT

         68.    In 2020, the Department’s Immunization Branch began receiving additional

 funding to its California Immunization Program to augment and enhance efforts around influenza

 vaccination coverage as well as perform COVID-19 vaccination planning and implementation

 from the CDC through CDPH amending its grant agreement number 17-10340 A02

 (Amendment) with the Department. The Amendment increased funding in an amount of

 $525,212 for fiscal year 2020-21. A true and correct copy of the Amendment signed May 11,

 2021, is attached as Exhibit F.




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        69.     In April 2021, the Department was notified of CDPH’s Letter of Intent to Award

 Funding for these services (hereinafter Immunizations Grant). A true and correct copy of the

 Letter of Intent to Award Funding dated April 1, 2021, is attached as Exhibit G.

        70.     In September 2024, the Department was notified of CDPH’s announcement of

 supplemental grant funding to local health departments for fiscal year 2024-25. A true and

 correct copy of the Letter of Announcement of Supplemental Funding dated September 19,2024,

 is attached as Exhibit H.

        71.     The expected performance period was from December 16, 2020 through June 30,

 2025, which includes a no cost extension. The total grant amount is $20,118,329.

        72.     The Immunizations Grant is intended to assist state and local health departments

 in establishing and maintaining preventive health service programs to immunize individuals

 against vaccine-preventable diseases. During COVID-19, Congress appropriated additional

 funding which was provided to state and local health departments for COVID-19 vaccine

 planning and administration in addition to conducting enhanced influenza activities to protect

 communities.

        73.     Since December 2020, the Department has used the Immunizations Grant funds in

 a manner fully consistent with CDC and CDPH’s statements regarding the nature of the grant

 and the Department’s responsibilities.

        74.     The termination in Immunizations Grant funding will decrease the number of

 vaccinations administered in hard-to-reach populations by an average of 400 doses per month.

        75.     The termination in Immunizations Grant funding limits support for health

 promotion and screenings for high-risk populations, resulting in approximately 15 fewer health

 promotion events each week.



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        76.     Public Health administers the "Vaccines for Children" program, and the loss of

 funding would reduce access to COVID-19 and other vaccinations for high-risk, Medi-Cal, and

 uninsured children. This reduction would further limit services and exacerbate the loss of

 providers across Riverside County.

        77.     Public Health administers the "Vaccines for Adults" program, and the loss of

 funding would reduce access to vaccines for COVID-19 and other vaccinations for high-risk

 uninsured and underinsured adults. This reduction would further limit services through the

 Bridge Access Program and exacerbate the loss of providers across Riverside County.

        78.     This funding loss decreases the County’s disaster nursing support by 80%, further

 limiting our ability to support COVID-19 screening and testing at emergency shelters.

        79.     Loss of funding will hinder the program’s capacity to provide comprehensive

 care, follow-up services, and timely interventions for individuals in need, potentially leading to

 poor health outcomes, including missed opportunities for timely antiviral therapy and

 vaccination.

        80.     Loss of funding will reduce school immunizations compliance visits by 75%.

 These visits also provide an opportunity to educate school staff on COVID-19 vaccinations and

 disease as staff at these locations have a high turnover rate. Every supervisorial district has

 schools with high numbers of conditionally enrolled students. This reduction in staff would

 significantly limit support for the schools not meeting the vaccine requirements, leaving students

 at high risk for communicable diseases like COVID-19 and others. It would also limit access to

 education on COVID-19 and other respiratory illnesses.

        81.     The loss of funding will result in an 85% reduction in staffing dedicated to

 conducting childcare provider visits as required by immunization statutes. Staffing loss would



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 significantly impact our ability to support childcare centers with low levels of required vaccine

 compliance and to provide education around the COVID-19 vaccine and disease. There are 24

 childcare providers that need to be visited this year due to lack of vaccine compliance; with this

 staffing reduction we would be able to visit 4 of the 20 sites.

        82.     The loss of the mobile screening and vaccination team would significantly hinder

 the ability to provide critical vaccines like COVID-19 and influenza to underserved and high-

 risk populations across the county. These mobile units have been essential in delivering timely

 screenings and vaccinations to communities with limited access to healthcare, including rural

 areas, low-income neighborhoods, and populations with mobility challenges. Without this

 service, many individuals would face increased barriers to receiving vaccines and preventive

 care, leading to higher rates of disease transmission, delays in diagnosis, and worsened health

 outcomes. This reduction in outreach capacity would exacerbate health disparities, strain local

 healthcare systems, and impede efforts to control the spread of infectious diseases.

        83.     The Department has timely submitted all invoices, quarterly reports, and

 expenditure reports with respect to vaccine allocations/utilization and doses administered. All

 reports were approved by the CDPH funder and analyst. Awards were consistently rolled over

 from Round 1 to Round 4, with unspent funds made available for rollover. The Department was

 offered a no cost extension from FY 2023-24 to FY 2024-25, extending the performance period

 of the award to June 30, 2025 giving an additional year of performance. The Department was

 also verbally notified by CDPH that, per CDC, they would be allowed to rollover the unspent

 dollars through June 30, 2027. At that time, CDPH indicated that they were waiting for the

 extension notice from CDC and then would pass it on to the Department and other local health




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 departments throughout the state. The Department only had enough remaining balance to

 support the program through June 30, 2026.

        84.     The Department was authorized to utilize these funds to support the mobile team

 operations, purchasing emergency equipment for use by vaccinating staff to treat anaphylaxis

 and manage medical equipment related to emergency support of patients receiving vaccination

 should they have an allergic reaction or anaphylaxis related to a vaccine dose.

        85.     On March 25, 2025, without any prior notice or indication, the CDC, informed

 CDPH that effective March 24, 2025, its Immunizations Grant was being terminated. Due to the

 logistical challenges of informing a large number of Immunizations Grant recipients of this time-

 sensitive information, the CDPH informally notified the Department on March 26, 2025 and

 stated formal notice is forthcoming. On March 28, 2025, as of 11:54 AM, the Department

 received the official notice letter from CDPH informing the Department of the CDC funding

 terminations. A true and correct copy of the letter is attached as Exhibit E.

        86.     The reduction in COVID Immunization funding poses significant challenges to

 Public Health programs and services, resulting in decreased access to essential care for high-risk

 populations. Vaccinations for hard-to-reach individuals will drop by an average of 400 vaccines

 per month, and health promotion and screenings for high-risk communities will be reduced by

 approximately 15 events each week. Additionally, the funding cut will severely impact

 emergency response efforts, reducing disaster nursing support by 80% and limiting COVID-19

 screening and vaccinations at emergency shelters that are established in the community. Key

 public health initiatives, such as perinatal outreach, are done by nurses that also do COVID-19

 education. The elimination of these funds will result in a 70% reduction in services, increasing

 the likelihood of poor health outcomes and higher long-term healthcare costs. Checking



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 compliance with school immunization statutes will be reduced by 75%, leaving many schools

 vulnerable to communicable diseases. Childcare provider visits will decrease by 85%, affecting

 vaccine compliance among childcare centers. Finally, the loss of the mobile screening and

 vaccination team will significantly hinder our ability to reach underserved populations,

 exacerbating health disparities and impeding efforts to control the spread of infectious diseases.

        87.     The remaining budget impacted for fiscal year 2024-25 is $1,292,546 and the

 impacted budget for fiscal year 2025-26 is $1,595,380.

        88.     The estimated number of full-time employees (FTEs) impacted by the

 Immunizations Grant funding loss for the fiscal year 2024-25 is 30.1 FTEs and for the fiscal year

 2025-26 is 14.45 FTEs.

        89.        The Department relied and acted upon its expectation and understanding that

 CDC would fulfill its commitment to provide the Health Disparities Grant, ELC funding, and the

 Immunizations Grants, by budgeting for the remainder of this fiscal year and in its budget

 request for the next fiscal year 2025-26.

 EPIDEMIOLOGY AND LABORATORY CAPACITY, SHARP 2+

        90.     In 2022, the Department’s Laboratory received funding from CDPH for the

 Strengthening Hospital Acquired Infections (HAI)/Antimicrobial Resistance (AR) Program

 (SHARP), funded through the American Rescue Plan Act of 2021, P.L., 117-2.

        91.     The funding was awarded through the Letter of Award for ELC SHARP Award

 Number – ELCPHLSHARP-14, dated April 3, 2023, for a total amount of $325,914.20 to

 Riverside County Public Health Laboratory (SHARP Grant/funding). A true and correct copy of

 the letter of award dated April 3, 2023, is attached as Exhibit I.




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         92.     The expected performance period was from June 1, 2022, through July 31, 2024

 which includes a no cost extension through July 31, 2026. A true and correct copy of the letter of

 funding extension dated November 9, 2022, is attached as Exhibit J.

         93.     These funds were broadly intended to provide critical resources in support of a

 broad range of healthcare infection prevention and control (IPC) activities and epidemiologic

 surveillance related activities to detect, monitor, mitigate, and prevent the spread of SARS-CoV-

 2/COVID-19 in healthcare settings.

         94.     The SHARP funds were also allowable in addressing other conditions in

 healthcare settings, such as HAIs and AR, which rely upon the same fundamental IPC and

 epidemiologic surveillance approaches that are used to detect, monitor, mitigate, and prevent the

 spread of SARS-CoV-2/COVID-19 in healthcare settings.

         95.     Loss of funding results in the reduction of 1.0 FTE of a Public Health

 Microbiologist III. This position is the lead level microbiologist in the Public Health Laboratory.

 Without the loss of funding, the Department will no longer be able to participate in SHARP.

         96.     Loss of SHARP funds would diminish procurement of laboratory equipment,

 reagents, supplies, and maintenance contracts with commercial entities to enhance testing

 capabilities.

         97.     Loss of these funds may lead to delayed responses to outbreaks, potentially

 increasing the spread and severity of disease.

         98.     The lack of data and insights from the program could hinder informed decision-

 making in the management of patients with antimicrobial resistance.




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        99.     The CDC defines antimicrobial resistance (AR) as when germs develop the ability

 to defeat the drugs designed to kill them. AR is a global threat due to the increased number of

 pathogens reaching collectively 2.8 million infections and over 35,000 deaths annually.

        100.    Bacteria that produce carbapenemases enzymes, which render them resistant to

 carbapenem antibiotics (known as carbapenemase-producing organisms (CPOs), a type of AR),

 are a public health concern due to the rapid spread through microbial gene transfer, limited

 treatment options, and high mortality. CPOs are more transmissible than non-CPOs,

 emphasizing the need for stricter infection control.

        101.    The Department of Public Health laboratory AR detection efforts will be

 significantly diminished without the SHARP funds.

        102.    Since June 2022, the Department has used the SHARP Grant funds in a manner

 fully consistent with CDC and CDPH’s statements regarding the nature of the grant and the

 Department’s responsibilities.

        103.    The Department has timely submitted all invoices, quarterly reports, and

 expenditure reports with respect to the antimicrobial resistance program. All reports were

 approved by the CDPH funder and analyst.

        104.    On March 28, 2025, as of 11:54 AM, the Department received the official notice

 letter from CDPH informing the Department of the CDC funding terminations. A true and

 correct copy of the letter is attached as Exhibit E.

        105.    The remaining budget impacted for fiscal year 2024-25 is $108,388 and the

 impacted budget for fiscal year 2025-26 is $55,000.

        106.    The estimated number of full-time employees (FTEs) impacted by the SHARP

 Grant funding loss for the fiscal year 2024-25 is 1 FTE.



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        107.    The discontinuation of the SHARP funds will significantly impact healthcare

 systems by reducing their ability to detect and manage antimicrobial-resistant infections

 effectively.

        108.    The unexpected immediate termination of CDC COVID funding sent shockwaves

 through the Department, leaving staff with panic and concern to understand and to respond to the

 legal requirements of the notice. This included hurried coordinated efforts across the County for

 collaboration, guidance, and support from various department leaders. The immediate

 termination notice has consumed invaluable time and resources from several key Public Health

 staff and various County Department staff members as well. In abundance of caution and

 trepidation, Public Health program directors have held difficult conversations with staff of their

 likely position losses. This has created a stressful and negative work environment for the

 Department.

        109.    The loss of this critical funding will undermine the Department’s ability to fulfill

 its mission of meaningfully enhancing and extending life for all in Riverside County. By

 reducing the ability of the department to produce critical data analyses, conduct disease

 investigations, administer vaccines, and educate the community, our residents are put at further

 risk for negative health outcomes, outbreaks and greater disparities among our populations.

       I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

                Executed on March 28, 2025, at Riverside, California



                                               ___/s/ Kimberly Saruwatari________________________________
                                                       KIMBERLY SARUWATARI
                                                      Director of Public Health
                                                      County of Riverside, California

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                             AWARD ATTACHMENTS
COUNTY OF RIVERSIDE
1. Terms & Conditions
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 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate this award which is funded by COVID-19
 supplemental appropriations. The termination of this award is for cause. HHS regulations permit
 termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
 separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
 cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
 ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
 agreements are no longer necessary as their limited purpose has run out. Termination of this award is
 effective as of the date set out in your Notice of Award.

 No additional activities can be conducted, and no additional costs may be incurred. Unobligated award
 balances will be de-obligated by CDC.

 Closeout: In order to facilitate an orderly closeout, we are requesting that you submit all closeout
 reports identified below within thirty (30) days of the date of this NoA. Submit the documentation as a
 “Grant Closeout” amendment in GrantSolutions. The reporting timeframe is the full period of
 performance. Please note, if you fail to submit timely and accurate reports, CDC may also pursue other
 enforcement actions per 45 CFR Part 75.371.

 Final Performance/Progress Report: This report should include the information specified in the Notice
 of Funding Opportunity (NOFO). At a minimum, the report will include the following:

         • Statement of progress made toward the achievement of originally stated aims.
         • Description of results (positive or negative) considered significant.
         • List of publications resulting from the project, with plans, if any, for further publication.

 Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds authorized and
 expended during the timeframe covered by the report. The final report must indicate the exact balance
 of unobligated funds and may not reflect any unliquidated obligations. Should the amount not match
 with the final expenditures reported to the Payment Management System (PMS), you will be required to
 update your reports to PMS accordingly.

 Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed SF-428 detailing all
 major equipment acquired with a unit acquisition cost of $10,000 or more. If no equipment was
 acquired under the award, a negative report is required
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